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DAVID FoUcAULT, et al.,

Plaintiffs,
vs.

Civ. No. 04-2988-D{P

THE LASIK VISION INSTITUTE,
et al.,

Defendants.

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SCHEDULING ORDER

 

Pursuant to written notice, a scheduling conference was held
June 9, 2005. Present were Paul Leitch, counsel for plaintiff, and
Elizabeth Collins and Donna Boyce, counsel for defendants. At the
conference, the following dates were established as the final dates
fOI:
INITIAL DISCLOSURES PURSUANT TO Fed.R.Civ.P. 26(a)(l): July 5, 2005
JOINING PARTIES: August l, 2005
AMENDING PLEADINGS: September l5, 2005
INITIAL MOTIONS TO DISMISS: September 30, 2005

COMPLETING ALL DISCOVERY: January 16, 2006

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(a) DOCUMENT PRODUCTION: January 16, 2006

(b) DEPOSI'I‘IONS, INTERROGATORIES AND REQUESTS FOR ADMISSIONS:
January 16, 2006

(C) EXPERT WITNESS DISCLOSURE (Rule 26):

(l) DISCLOSURE OF PLAINTIFF'S RULE 26 EXPERT
INFORMATION: September 5, 2005

(2) DISCLOSURE OF DEFENDANT'S RULE 26 EXPERT
INFORMATION: January 16, 2006

(3) EXPERT WITNESS DEPOSITIONS:
Plaintiff’s Expert Depositions - November 15, 2005
Defendant’s Expert Depositions - March 15, 2006

FILING DISPOSITIVE MOTIONS: MarCh 15, 2006
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery
cutoff date. All motions, requests for admissions, or other
filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to
respond by the time permitted by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the
discovery deadline or within 30 days of the default or the service
of the response, answer, or objection, which is the subject of the
motion, if the default occurs within 30 days of the discovery
deadline, unless the time for filing of such motion is extended for
good cause shown, or the objection to the default, response,
answer, or objection shall be waived.

This case is set for a jury trial. The pretrial order date,
pretrial conference date, and trial date will be set by the
presiding judge. It is anticipated that the trial will last
approximately five (5) days.

This case may be appropriate for ADR. The parties are to
appear before Magistrate Judge Pham on Thursday, November 3, 2005,
at 9:30 a.m., for a status conference to discuss the possibility of
ADR.

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The parties are reminded that pursuant to Local Rule
ll(a)(l)(A), all motions, except motions pursuant to Fed. R. Civ.
P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in
this matter. Neither party may file an additional reply, however,
without leave of the court. If a party believes that a reply is
necessary, it shall file a motion. for leave to file a reply
accompanied by a memorandum setting forth the reasons for which a
reply is required.

At this time, the parties have not given consideration to
whether they wish to consent to trial before the magistrate judge.
The parties will file a written consent form with the court should
they decide to proceed before the magistrate judge.

This order has been entered after consultation with trial
counsel pursuant to notice. Absent good cause shown, the
scheduling dates set by this order will not be modified or

extended.

TU M. PHAM
United States Magistrate Judge

"Juu_ H , ;3¢;'
Date

IT IS SO ORDERED.

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
case 2:04-CV-02988 Was distributed by fax, mail, or direct printing on
June 16, 2005 to the parties listed.

 

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Honorable Bernice Donald
US DISTRICT COURT

